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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF OKLAHOMA


DURANT METAL SHREDDING, LLC,                          )
                                                      )
                               Plaintiff,             )
                                                      )
v.                                                    )   Case No. CIV-12-377-SPS
                                                      )
MARKEL AMERICAN INSURANCE                             )
COMPANY, et al.,                                      )
                   Defendants.                        )


                             JUDGMENT DISMISSING ACTION
                              BY REASON OF SETTLEMENT


               The Court has been advised by counsel that this action has been settled, or is in the

process of being settled. Therefore, it is not necessary that the action remain upon the calendar of

the Court.

               IT IS ORDERED that the action is dismissed without prejudice. The Court retains

complete jurisdiction to vacate this order and to reopen the action upon cause shown that settlement

has not been completed and further litigation is necessary.

               IT IS ORDERED that the parties are directed to submit final closing papers within

thirty (30) days from the date of this order.

               Dated this 9th day of January, 2014.
